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Creditor, Office of the Tax Collector for San Bernardino County U.S, BANKRUPTCY couRT
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

In re: Case No.: 23-13359 (VEP)

BED BATH & BEYOND INC., et al., Chapter 11

Debtors, CREDITOR SAN BERNARDINO
COUNTY TAX COLLECTOR’S
RESPONSE TO DEBTOR’S SECOND
OMNIBUS OBJECTION TO
CERTAIN TAX CLAIMS AND
OPPOSITION TO MOTION TO
DETERMINE TAX LIABILITY AND
STAY PROCEEDINGS

Date: October 24, 2023

Time: 10:00 a.m. (ET)

Judge: Honorable Vincent F. Papalia
Courtroom: 3B

Respondent Creditor, San Bernardino County Office of the Tax Collector (SBTC),
hereby responds to the Notice of Debtors’ (I) Second Omnibus Objection to Certain Tax
Claims and (II) Motion to Determine Tax Liability and Stay Proceedings.

I. INTRODUCTION

San Bernardino County Office of Tax Collector was never served with any
documents related to this objection, and only became aware of this objection via other
Counties. Pursuant to the documents shared by other Counties, the Debtors request a
determination by the Court concerning their property tax liabilities respecting various
taxing authorities, including SBTC, pursuant to Section 505(a) of the Bankruptcy Code.

The Debtors contend, without evidence, that the assessment values of their properties and

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tax liabilities are excessive and inaccurate. However, Debtors appear to rely on their post
lien date sales to value their property rather than an accepted valuation methodology
under California Law.

Section 505 of the Bankruptcy Code is discretionary, and Creditor SBTC asks that
the court abstain from entertaining Debtors’ motion. Property tax assessment in
California is complex, and a New Jersey Court would be required to apply substantive
California law on issues that are intended to be decided by a local Assessment Appeals
Board (“AAB”) under the California Constitution, placing the uniformity of assessment
at great risk. In addition, the burden to the court would be tremendous given the amount
of properties at issue and the requirement under California law that taxes be based on the
situs of the property. Finally, there is a substantial burden to SBTC, as all of its appraiser
staff and their legal advisor, Office of County Counsel, are located exclusively in
California.

The Debtors Motion does not comport with the purpose and objectives established
under Section 505(a) of the Bankruptcy Code, and Debtors’ have not overcome the
presumptive validity of San Bernardino County’s claim. San Bernardino County
respectfully requests the Court deny this Motion, in its entirety. Should the Court decline
to abstain from hearing this matter, the County hereby objects to the Debtors’
introduction of any evidence at the hearing on the Motion, including, without limitation,
the “appraisal”, and other evidence which could not have been considered pursuant to
applicable nonbankruptcy law.

I. STATEMENT OF FACTS

1, On April 23, 2023 (the “Petition Date”), the Debtors filed a voluntary
petition for relief under Chapter 11 of Title 11 of the United States Code (the
“Bankruptcy Code”).

2. On May 4, 2023, SBTC timely filed Proof of Claim number 1097 for
unsecured tax bills: 20220804882, 20220796798, 20220812874, 20220801530,
20220800243, 20220801179, and 20220796797, in the amount of $30,120.36. (See

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Claim No. 1097). Furthermore, included as Attachment A and filed on October 16, 2023
is an Amended Proof of Claim to including the following tax bills: 20230808149,
20230799987, 20230799988, 20230816066, 20230804888, 20230803559, 20230804527
resulting in a total claim amount of $41,133.45, Collectively the “Unsecured Priority Tax
Claim”), The Proof of Claim is presumptively valid. Fed R. Bankr., Rule 3001, subd.
(f).

3. Asof January 1, 2023, Debtors operated several locations in the San
Bernardino County. (Declaration of Ruth Scott { 6).

4. The Assessor is required to annually assess taxable business personal
property as of the lien date (January Ist). Business Personal Property includes all
“Equipment out on lease, rent, or conditional sale to others” used in the operation of a
business. Business Personal Property is reported to the Assessor annually on a form
known as the Business Property Statement (Form 571-L). (Scott Decl. § 3).

5, Form 571-L constitutes an official request from the Assessor for the
taxpayer to declare all assessable business property situated in the county which the
taxpayer owned, claimed, possessed, controlled, or managed on the tax lien date, and that
the taxpayer signs (under penalty of perjury). Failure to file the statement during the time
provided in section 441 of the California Revenue and Taxation Code will compel the
Assessor to estimate the value of your property from other information in the Assessor’s
possession and add a penalty of 10 percent of the assessed value as required by section
463 of the California Revenue and Taxation Code. (Scott Decl. { 4).

6. On May 4, 2023Debtors filed their 2023 571-L business property statements
with the Assessor, with the statements signed true, correct, and complete by their VP of
Tax. (Scott Decl. 47). The Assessor assessed the property exactly as it was reported by
Debtors. (/d.)

47. The San Bernardino County Auditor-Controller/Treasurer/Tax Collector is
responsible for the collection of ad valorum taxes assessed against real property and

personal property located in the San Bernardino County. See Cal. Rev. & Tax. Code
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§2903.
8. The San Bernardino County Tax Collector issued 7 tax bills issued for fiscal

year 2023 for the personal property and fixtures located within the various different
locations operated by Debtors based on the Assessor’s valuation. (See Claim No. 1097).
These tax bills represent SBTC’s Unsecured Priority Tax Claim.

9. Debtors incurred the tax liabilities claimed due pursuant to California
Revenue & Taxation Code §§ 2191.3, 2191.4 and 2193. (Scott Decl. § 9).

10. The 2023 tax bills are entitled to priority under section 508(a)(8) because it
was last due and payable without penalty within one year before the date the Debtors
filed the instant petition.

lll. COMPLEXITY OF CALIFORNIA PROPERTY TAX PROCEDURE

The basis for assessment of all real and personal property in California is the
California Constitution. Specifically, all property tax assessments are established by the
provisions of either article XIII or article XIII A (the constitutional article adopted
following the passage of Proposition 13). The California Constitution requires uniformity
of taxation of all property in California (Cal. Const., art. XIII, § 1) and requires that all
property be assessed in the county, city, and district in which it is situated. Cal. Const.,
art. XIII, § 14.

There are several steps for property taxation in California all of which are
governed by numerous standards, procedures, and protections to ensure fair and uniform
application of local property tax assessments. The vast majority of the Legislature's
enactments with respect to ad valorem assessment are found in the California Revenue
and Taxation Code (hereinafter “R&T Code”). In addition, The State Board of
Equalization (“BOE”) is mandated to prescribe rules and regulations to govern local
boards of equalization when equalizing, and county assessors when assessing, in
compliance with the rulemaking procedures adopted by the California Office of
Administrative Law. Pursuant to that mandate, the BOE has adopted various Property

Tax Rules which are contained in Title 18 of the California Code of Regulations. These

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rules can be found at https://www.boe.ca.gov/proptaxes/ahcont-htm (last visited October

11, 2023) (hereinafter and cited to as “Property Tax Rules”).'

Finally, local Assessors additionally rely on the Assessors’ Handbook, which “is a
series of manuals developed by the staff of the BOE in an open process. The objective of
the Assessors’ Handbook is to give county assessors, their staff, and other interested
parties an understanding of the principles of property assessment and real and personal
property appraisal for property tax purposes. Additionally, the Assessors’ Handbook
presents the BOE staff's interpretation of rules, laws, and court decisions on property
assessment.” (See https://www.boe.ca.gov/proptaxes/ahcont.htm, last visited October 11,
2023).

A. Assessment of Personal Property
The standard of valuation prescribed by the Legislature is that "[all] taxable

property shall be assessed at its full cash value." Cal. Rev. & Tax. Code, § 401. "Full
cash value," as defined in section 110 of the R&T Code, "means the amount at which
property would be taken in payment of a just debt from a solvent debtor." Cal. Rev. &
Tax. Code, § 110. “It provides, in other words, for an assessment at the price that
property would bring to its owner if it were offered for sale on an open market under
conditions in which neither buyer nor seller could take advantage of the exigencies of the
other.” De Luz Homes, Inc. v. County of San Diego, 45 Cal. 2d 546, 561-562 (Cal. 1955).
Therefore, the definition of fair market value does not include the sales transactions by a
debtor in bankruptcy. Notably, the net earnings to be capitalized are not those of the
present owner of the property, “but those that would be anticipated by a prospective
purchaser. " Id. at p, 566.

Assessors generally estimate value by analyzing market data on sales of similar
property, replacement costs, and income from the property (see 1 Bonbright, Valuation of

Property, pp. 113-266; American Institute of Real Estate Appraisers, The Appraisal of

1 Section 15606, subdivision (c) of the Government Code authorizes that the State
Board of Equalization (“SBE”) will “prescribe rules and regulations to govern local
boards of equalization when equalizing...”

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Real Estate, pp. 75-85; Fisher, Real Estate in California, p. 157), and since no one of
these methods alone can be used to estimate the value of ali property, the assessor,
subject to requirements of fairness and uniformity, may exercise his discretion in using
one or more of them. Utah Const. Co. v. Richardson, 187 Cal. 649, 652-653 (Cal.
1921); Southern Calif. Tel. Co, v. County of Los Angeles, 45 Cal.App.2d 111, 116-118
Cal. App. 3d. 1941.) Significantly, with regard to personal property taxes, the assessment
is made based upon information supplied by the taxpayer. (Scott Decl. oF 4.7).

B. Review of Property Tax Assessment by the Assessment Appeals Board

A property owner dissatisfied with the annual assessment must first file an
application for reduction with the AAB, which has authority to “equalize the values of all
property on the local assessment roll by adjusting individual assessments.” Cal. Const.,
art. XIII, § 16; Cal. Rev. & Tax. Code §1603(a). The AAB is an independent quasi-
judicial constitutional body, separate, apart, and independent of the Assessor’s Office.
See, eg. Westinghouse v. County of LA, 42 Cal. App. 3d 32, 42 fns. 6 and 7 (Cal. 1974)
(explaining that “[t]he special expertise in property valuation assignable to county boards
of equalization justifies their classification as judicial bodies by California Constitution
article XIII, section 9...”).

The functioning of the AAB is governed by sections 1601 through 1645.5 of the
R&T Code and sections 301 through 326 of the Property Tax Rules. Section 1604(c) of

the R&T Code requires the AAB to hear evidence and make final determination on an

| application for reduction of assessment of property within two (2) years of timely filing

of the application. Cal. Rev, & Tax. Code §1604(c),

In appeals involving personal property and fixtures, it may be necessary for the
assessor to perform an audit of the taxpayer’s records to reach a final value conclusion.
The Assessor would also be required to appear at the hearing to defend its valuation, only
after the taxpayer met its burden, and would do so based on accepted valuation
methodologies prescribed within the R&T Code. (Scott Decl. { 14).

Subject to exceptions set by law, it is presumed that the assessor has properly

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performed official duties. Cal. Evid. Code § 664; 18 C.C.R. §321, subd. (a); Texaco
Producing v. County of Kern, 66 Cal. App. 4th 1029 (Cal. 1998), The effect of this
presumption is to impose upon the applicant the burden of proving that the value on the
assessment roll is not correct, or where applicable, the property in question has not been
otherwise correctly assessed. Cal. Evid. Code § 660; Texaco Producing, supra, at p.
1046. The law requires that the applicant present independent evidence relevant to the
full value of the property or other issue presented by the applicant. 18 C.C.R. § 321,
subd, (a).

IV. ARGUMENT

A. Abstention is Proper

Pursuant to 28 U.S.C. § 1334(c)(1), a bankruptcy court has "broad discretion to
abstain from hearing state law claims whenever appropriate 'in the interest of justice, or
in the interest of comity with State courts or respect for State law."" Sarfani, Inc. v. Miss.
Dept. of Revenue (In re Sarfani, Inc.), 527 B.R. 241, 252 (Bankr. N.D. Miss. 2015).
Section 505(a)(1) provides an additional basis for permissive abstention, because it
provides that a court may, but is not required to, determine a debtor’s tax liabilities. Id.

Bankruptcy courts’ trend to abstain from hearing the majority of these cases and these
particular courts have referred to the traditional abstention principles where the
determination of taxes would not benefit the bankruptcy estate or the unsecured creditors,
or in those particular cases where such determination would interfere with the uniformity
of tax assessment associated with the specific tax jurisdiction in question.

Specifically, Bankruptcy courts have properly looked to a number of factors when
deciding whether to exercise their authority under section 505, inciuding: “the complexity
of the tax issue; (2) the need to administer the bankruptcy case in an expeditious fashion;
(3) the burden on the bankruptcy court's docket; (4) the length of time necessary to conduct
the hearing and to render a decision thereafter; (5) the asset and liability structure of the
debtor; and (6) the potential prejudice to the debtor, the taxing authority, and creditors.”
Inre New Haven Projects Ltd. Liability Co., 225 F.3d 283, 289 (2d Cir. 1999) (finding that

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unsecured creditors would not meaningly benefit from section 505 review and such review
would frustrate the purpose of the statute). See also In re Lyondell Chem. Co., 2010 Bankr.
LEXIS 1271 at *6 (Bankr. S.D.N.Y. Apr. 19, 2010)(finding these factors weighed in favor
of abstention); ANC Rental Corp. v. Dallas County (In re ANC Rental Corp.), 316 B.R.
153, 159 (Bankr. D. Del. 2004); In re Galvano, 116 B.R. 367, 372 (Bankr. E.D.N.Y. (1990)
(exercising discretion to abstain based on these factors).

1. California Property Tax Law is Complex and Equalization Should be in the

Hands of the Local Assessment Appeals Board.

As detailed in Section III above, California property tax law is extremely complex.
Debtors attempt to ignore this complexity and ask the court to take an approach to valuation

that is not consistent with California law, which the court must apply if it were to consider

the 505 motion. See CM Reed Almeda 1-3062, LLC v. Harris Cnty. (In re CM Reed Almeda

1-3062, LLC), 2017 Bankr. LEXIS 1155, *24-25 (BAP 9" Cir. 2017).

There are three major appraisal approaches for estimating value (cost, comparative
sales, and income). The nature of the property, its market, and the availability of data will
normally indicate which approach(es) is most applicable. This is supported by Property
Tax Rule 3, which states, in part: “In estimating value as defined in section 2, the assessor
shall consider one or more of the following [approaches to value], as may be appropriate
for the property being appraised.” 18 C.C.R. § 3. Moreover, Property Tax Rule 324
requires that the taxpayer appealing an assessment value “shall be bound by the same
principles of valuation that are legally applicable to the assessor.” 18 C.C.R. § 324.
Although Debtors discuss fair market value in their motion, Debtors make no reference to
any other principles governing valuation in California. (See Lambert Decl. {ff 1-14.) There
is simply no basis for the court to analyze the debtors’ tax liability differently simply
because Debtors filed bankruptcy. See Raleigh v. Illinois Dep't of Revenue, 530 U.S. 15,
20 (2000).

There is an efficient review process available to Debtors within each of the local

taxing authorities jurisdiction, and "it seems most appropriate that the debtor in chapter

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11 proceed with the systems already in place" for determining its state tax liability,
"rather than substituting this court for that process." In re the Village at Oakwell Farms,
Lid, 428 B.R. 372, 375 (Bankr. W.D, Tex. 2010). This is particularly so when the debtor
is asking a New Jersey bankruptcy court to determine California tax issues; “why should
this court "start from scratch" when there is a more efficient tribunal that can determine
the valuation issues under applicable state law? “Inve CM Reed Almeda 1-3062, LLC,
2017 Bankr. LEXIS at *24-25; see also In re Altegrity, Inc., 544 B.R. 772, 778 (Bankr.
D. Del. 2016) (Delaware bankruptcy court abstained from determining debtor's °
Oklahoma tax liability, because debtor was already pursuing relief before Oklahoma Tax
Commission).

2. Uniformity of Assessment is at Stake

Many courts have found abstention to be appropriate when uniformity of
assessment is at issue. Central Valley Ag Enterprises, 531 F.3d 750, 764 (9" Cir. 2008)
(recognizing that uniformity of assessment is a basis for abstention), In re New Haven
Products Ltd. Liability Co., 225 F.3d at 288 (same); In re Cable & Wireless USA, Inc.,
331 B.R. 568, 577-78 (Bankr. D. Del. 2005) ("Each tax authority must enjoy and apply a
uniformity of assessment within its tax jurisdiction."), In re ANC Rental Corp., 316 B.R.
163,159 (Bankr. D. Del. 2004) (abstention is often used where uniformity of assessment
is an issue); Metromedia Fiber Network, Inc. v. Various State and Local Taxing
Authorities (In re Metromedia Fiber, Inc.), 299 B.R. 251, 281 (Bankr. S.D.N.Y. 2003).
Additionally, it would be prejudicial to California counties to have a New Jersey
bankruptcy court determine the state tax issues implicated in the 505 Motion. In re ANC
Rental Corp., 316 B.R. at 159 (finding that a local taxing authority in Texas would "be
significantly prejudiced by having the taxes at issue determined by a Delaware court.")

County Assessors are required to attend and present evidence at a hearing on the
appeal of an assessment. They should not be required to travel out of state, unrepresented
by County Counsel, to present evidence in a New Jersey bankruptcy proceedings. A

valuation hearing in New Jersey would be very burdensome on the Assessor. Assessor

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staff is located exclusively in San Bernardino County within the State of California.
Assessor staff only appear in administrative proceedings before the Assessment Appeals
Board, which are not formal court proceedings. (Scott Decl. {{ 16-17). The County’s
legal advisor is the County Counsel, and Deputy County Counsel, Kaleigh Ragon is the
specific legal advisor to the Assessor. Ms. Ragon is not barred in New Jersey and is
unable to represent the Assessor at a valuation hearing in a New Jersey court. (d.)

Uniformity of Assessment is of the utmost importance to the Assessor and required
under the California Constitution. This uniformity will be placed at risk should an out of
state court, rather than our local Assessment Appeals Board, make a valuation
determination at a hearing without the Assessor present, and based on valuation methods
that are not accepted under the R&T Code. (Scott Decl. J 18).

3. The Court’s Consideration of the 505 Motion Will Unnecessarily Burden the

Court

Debtors failed to present any evidence to demonstrate that the court's consideration

Debtors ignore the tremendous burden a 505 determination would place on the court’s
docket. Debtors are not just contesting the tax liability in a single County, Debtors are
contesting tax liability in 26 separate and distinct counties. (See Doc. No. 2180
[contesting liability in nine different counties] and Doc. No. 2181 [contesting liability in
17 different counties]). In addition, some of the counties, like San Bernardino County,
have numerous property tax bills at issue.

California property tax law does not permit the bulk valuation of property across
counties. Instead, the California Constitution requires that all property be assessed in the
county, city, and district in which it is situated. Cal. Const., art. XII, § 14. Therefore,
each counties’ assessment should be determined at a separate and distinct evidentiary
hearing. It is unclear how 27 separate hearings in a New Jersey Bankruptcy Court on
California property tax issues promotes the purpose of section 505. Given this court's

other commitments, there is no reason to believe that it could hear and determine the

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of their 505 Motion would result in a more efficient administration of this estate. In fact,

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issues Debtors have raised more efficiently than the local AABs, which are designed
exclusively for this purpose. Moreover, because the R&T Code requires that the hearing
take place within two years, there is not a risk of delay.

~ Debtors have not set forth any argument or evidence as to how this court’s Section
505(a)(1) determination would benefit other creditors or result in the efficient
administration of this case. Instead, it appears that Debtors are attempting to circumvent
state property tax law and avoid paying priority tax claims, thereby benefiting only the
Debtors (and not the creditors).

B. Debtors Valuation Does Not Comply with Property Tax Rules

Even if the Court were to determine the valuation of Debtors’ property under section
505, Debtor has not met their burden. As explained above, the property owner has the
burden of proving that the assessor has improperly valued the property, and Debtors are
bound by the same methods of valuation as the Assessor. Debtors cannot meet this
burden because their appraisal completely ignores the approaches to value accepted under
California law.

Rather than asking this court to apply state law, as the court is required to do, Debtors
appear to be arguing that the valuation methods prescribed under the laws of California
are erroneous. Debtors then attempt to circumvent state law by lumping all the
assessments of their property across jurisdictions together and asking this court to
consider its post lien date sales during Debtors’ insolvency. (see Scott Decl. {{] 3,15).

Contrary to Debtors’ argument, “full cash value," as defined in section 110 of the
R&T Code, "means the amount at which property would be taken in payment of a just
debt from a solvent debtor." Cal. Rev. & Tax. Code §110 (emphasis added). It does not
include sales Debtor made after the lien date under exigent circumstances. Per the
Assessor’s Handbook 504 p. 130, sales of assets from a bankruptcy estate should not
necessarily be considered valid indicators of market value under the definition of
Revenue and Taxation Code section 110. (See Assessors’ Handbook 504, p. 50, 130
[recognizing that the buyer of property from a bankrupt's estate has the ability to take

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advantage of the exigencies of the seller.]).

C. Debtors Have Not Produced Sufficient Evidence to Negate the Prima
Facie Validity of the Tax Collector’s Claim

It is well settled that the timely filing of a Proof of Claim is prima facie evidence of
the validity and amount of the claim pursuant to Federal Rule of Bankruptcy Procedure
3001(f). See also, In re Mid-American Waste Sys., 284 B.R. 53, 65 (Bankr. Del. 2002),
Once a proof of claim is properly executed and filed “it is a debtor who bears the initial
burden of going forward to produce evidence sufficient to negate the prima facie validity
of the filed claim.” Jn re Desert Village Ltd. P’ship, 321 B.R. 443, 446 (Bankr, N.D.
Ohio 2004) (emphasis added) (citing Morton v. Morton (In re Morton), 298 B.R. 301,
307 (B.A.P. 6th Cir. 2003); see In re Allegheny International, Inc., 954 F.2d 167, 176 (3d
Cir. 1992) (burden shifts to objector to produce sufficient evidence to negate the prima
facie validity of the filed claim); In re Planet Hollywood International, 274 BR. 391, 394
(D.Del. 2001). “This evidence must be a probative force equal to that of the creditor’s
proof of claim.” In re Hinkley, 58 B.R. 339, 348 (Bankr. S.D. Tex. 1986), aff'd., 89 B.R.
608, aff’d., 879 F.2d 859. Stated another way, “the objecting party must.come forth with
evidence which, if believed, would refute at least one of the allegations essential to the
claim.” In re Rally, 245 B.R. 768, 773 (B.A.P. 2d Cir. 2000). Only when “the debtor has
met that burden, the burden of going forward shifts back to the creditor, and the creditor
bears the ultimate burden of persuasion.” Morton, 298 B.R. at 307.

Moreover, where a claim is based on statute, not a writing, a taxing agency is not
required to attach documentation to its proof of claim in order to retain the presumption
of validity. In re Los Angeles Intl. Airport Hotel Assoc., 106 F. 3d 1479, 1480 (9th Cir.
1997). A debtor taxpayer disputing a tax claim in bankruptcy has the burden of proving
it does not owe the tax. Raleigh v. Illinois Dept. of Revenue, 530 US 15, 21-26 (2000).

Accordingly, SBTC retains the presumption of validity and the burden remains
with the Debtor to present evidence that the tax claim is invalid, paid or otherwise

inapplicable. See Jn re Bryant Tool & Mfg., Inc., 16 B.R. 723 (Bankr. S.D. Fla. 1982); In
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re Vic Snyder, Inc., 50 B.R. 631 (Bankr. E.D, Pa, 1985); In re Lanza, 51 B.R. 125 (Bankr.
D.N.J. 1985); In re Lipetzky, 66 B.R. 648 (Bankr. D. Mont. 1986); In re Brickell Inv.
Corp., 85 B.R. 164. (Bankr. S.D. Fla. 1988). In the case of tax claims, burden of proof
and persuasion is upon debtor taxpayer and Bankruptcy Rule 3001(f) was held not to shitt
the burden of proof to the taxing agency. In re Cobb, 135 B.R. 640 (Bankr. D. Neb.
1992),
CONCLUSION

Debtors’ 505 Motion involves only state law issues. Resolution of those issues is
more complex than asserted by the debtor, and administration of the bankruptcy estate
would not be affected if the court were to abstain. There are no "core" bankruptcy matters
to be severed, and the evidentiary hearing required to determine the 505 Motion would
place a burden on the court's docket. As a result, the court shall abstain from determining
any of the other tax years at issue in the Motion to Determine Tax Liability Pursuant to
11 U.S.C. § 505. Its exercise of jurisdiction under 11 U.S.C. § 505(a)(1) is permissive,
and the court should find that abstention appropriate in the interests of comity under 28

US.C. § 1334(cX(1).

DATED: October 16, 2023 CREDITOR SAN BERNARDINO COUNTY
AUDIFOR-CONTROLLER/TREASURER/TAX

COLLECTO .
rode ae
By: /s/
Linda Mikulski>€PA
Chief Deputy Tax Collector

13

3-13359 (VEP)

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UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEW JERSEY
In re: Case No.: 23-13359 (VEP)
BED BATH & BEYOND INC., et al., Chapter 11

Debtors,

Date: October 24, 2023
Time: 10:00 a.m. (ET)
Courtroom: 3B

DECLARATION OF RUTH SCOTT_, PRINCIPAL APPRAISER IN SUPPORT
OF CREDITOR SAN BERNARDINO COUNTY OFFICE OF TAX
COLLECTOR’S RESPONSE TO DEBTORS’ SECOND OMNIBUS OBJECTION

I, Ruth Scott, declare as follows:

1. I make this declaration based upon my own personal knowledge, except for
matters set forth herein on information and belief, and as to those matters, I believe them
to be true, and if called upon to testify herein, I could and would competently testify as
follows:

2. Tam employed by the County of San Bernardino (“County”). I have been
employed by the County since November, 1997. I am the Principal Appraiser with the
San Bermardino County Assessor. My responsibilities include managing business,
personal property and fixture valuations,

3. The Assessor is required to annually assess taxable business personal
property and fixtures as of the lien date (January Ist), Business Personal Property
includes all “Equipment out on lease, rent, or conditional sale to others” used in the
operation of a business, Business Personal Property is reported to the Assessor annually
ona form known as the Business Property Statement (Form 571-L).

4. Form 571-L constitutes an official request from the Assessor for the

taxpayer to declare all assessable business property situated in the county which the

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taxpayer owned, claimed, possessed, controlled, or managed on the tax lien date, and that
the taxpayer signs (under penalty of perjury). Failure to file the statement during the time
provided in section 441 of the Revenue and Taxation Code will compel the Assessor to
estimate the value of your property from other information in the Assessor’s possession
and add a penalty of 10 percent of the assessed vaiue as required by section 463 of the
Revenue and Taxation Code.

5, Jam familiar with the tax records maintained by the Assessor in the normal
course of business and specifically with information requested by the Assessor or
furnished in the Property Statement.

6. As of January 1, 2023, Debtors operated several retail store locations in the
San Bernardino County.

7. Based on my review of the Assessor records it appears that Debtors
submitted a Business Property Statement for 2023 to the Assessor dated May 4, 2023.
The statement was signed under penalty of perjury by their VP of Tax. Based on my
review of Assessor records, I determined that the Assessor assessed the Debtor’s property
exactly as it was reported by Debtors for the 2023 fiscal year. Pursuant to Revenue and
Taxation Code Section 451, the Assessor is required to keep the information in the
property statement secret, and therefore, cannot disclose any further details or produce a
copy of the statement.

8. The Tax Collector issued unsecured tax bills for the personal property and
fixtures located within the various different locations operated by Debtors for fiscal year
2023, The tax bills issued are: 20220804882, 20220796798, 202208 12874,
20220801530, 20220800243, 20220801179, and 20220796797, in the amount of
$27,382.16. The following tax bills were also issued: 20230808149, 20230799987,
20230799988, 202308 16066, 20230804888, 20230803559, 20230804527 the amount of
$41,133.45. These tax bills are based on the values from the unsecured roll enrolled by

the Assessor.

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9, The debtors incurred the tax liabilities claimed due pursuant to California
Revenue & Taxation Code §§ 2191.3, 2191.4 and 2193.

10. Pursuant to California Revenue and Taxation Code Section 2922, Unsecured
(Personal) Property Taxes are due upon receipt of the Unsecured Property Tax Bill and
are last due without penalty on August 31.

11. Ifa taxpayer disagrees with the value established for a property, they should
discuss the issue with the Assessor's staff in the county where the property is located. If
an agreement cannot be reached, then taxpayers have a right to appeal the value under
certain circumstances and limitations.

12. Debtors’ deadline to file a personal property appeal application for the 2023
year is November 30, 2023.

13. To date, Debtors have not contacted the Assessor’s Office to discuss their
valuation, nor have they filed an Appeal Application for the 2023 tax year.

14. In appeals involving personal property and fixtures, it may be necessary for
the assessor to perform an audit of the taxpayer’s records to reach a final value
conclusion. The Assessor would also be required to appear at the hearing to defend its
valuation, only after the taxpayer met its burden, and would do so based on accepted
valuation methodologies prescribed within the Revenue and Taxation Code.

15. Ireviewed the declaration submitted by Debtors in their Second Omnibus
Objection. Debtors do not appear to base their valuation on any accepted valuation
method within the Revenue and Taxation Code. Instead, the valuation is based on post-
lien date sales while the Debtors were insolvent.

16. A valuation hearing in New Jersey would be very burdensome on the
Assessor. Assessor staff is located exclusively in the San Bernardino County within the
State of California. Assessor staff only appear in administrative proceedings before the
Assessment Appeals Board, which are not formal court proceedings.

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co ~~ ®& ta BB WwW HH KH OD Oo weH BD HN FP WH NY YF &

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17. The County’s legal advisor is the County Counsel, and Deputy County
Counsel, Kaleigh Ragon is the specific legal advisor to the Assessor. Ms. Ragon is not
barred in New Jersey and is unable to represent the Assessor at a valuation hearing in a
New Jersey court.

18. Uniformity of Assessment is of the utmost importance to the Assessor and
required under the California Constitution. This uniformity will be placed at risk should
an out of state court, rather than our local Assessment Appeals Board, make a valuation
determination at a hearing without the Assessor present, and based on valuation methods
that are not accepted under the Revenue and Taxation Code.

I declare under penalty of perjury under the laws of the State of California that the
foregoing is true and correct.

Executed this 16th day of October 2023, at San Bernardino, California.

AUP hep

Ruth Scott, Principal Appraiser

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Mh es ROU Oso a ab

Dablow 4 Bed Bath & Beyond Inc., et al.,

Debtor 2
(Spousa, If filng)
United States Bankruptey Court for the: N/A District of New Jersey

Casenumbas 23 13359

Official Form 410
Proof of Claim 04/16

Read the Instructions before filling out this farm. This form Is for making a clalm for payment In a bankruptcy casa. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact Information that Is entitled to privacy on this form or on any attached documents. Altach redacted coples of any
documents that support the clalm, such as promissory notes, purchase orders, Invoices, Kemized statements of running accounts, contracts, Judgments,
mortgages, and security agreements. Do not send orlginal documents; they may be destroyed after scanning. Ifthe documents are not avaliable,
explain in an attachment.

A person who files a fraudulent claim could be fined up to $500,000, Imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

Fill In all the Information about the clalm as of the date the case was filed. That date Is on the notice of bankruptcy (Form 309) that you recelved.

Identify the Claim

1. Whols the current

creditor? San Bernardino County

Name of the current creditor (the person or entity to be paid for this claim)

Other names the creditor used with the debtor

2. Has this claim been & No

acquired from
somapne else? C] Yes. From whom?

3. Where should notices Where should notices to tha craditor ba sant? Where should payments to the creditor be sent? (if

and payments to the dfferent)

creditor be sent? SAN BERNARDINO COUNTY
OFFICE OF THE TAX COLLECTOR

Federal Rule of Name Namo ~

Bankruptcy Procedure

(FRBP) 2002(g) 268 WEST HOSPITALITY LANE, 1ST FLOOR _
Number Street Number Street
SAN BERNARDINO, CA 92415 __ _ __
City State ~ ZIP Code City Slate ZIP Code
Contact phone _(909) 387-8308 Contact phone
Contact email Contact email

Uniform claim kentifier for electronic payments in chapter 13 (if you use one):

4. Doesthisclaimamend [J No

one already filed? fe) Yes. Claim number on court claims registry (if known) Filed on 05/04/2023
NM f DD / YYYY

5. Do you know ifanyane No

else has filed a proof
eh ctaun erie oie CJ Yes. Who made the earller fillng?

Official Form 410 Proof of Claim page 1
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Give information About the Claim as of the Mute the Case Was Filpd

6. Do youhave any number ] No

yooton toldantify tha =] Yes, Last 4 digits of the debtor's account of any number you use to Identify the debtor: __ __
7. How much Is the claim’? $.411333,45 . Does this amount include Interest or other charges?
Gd No

(ll Yes. Aitach statement Kemizing Interest, fees, axpenses, or ofher
charges required by Bankruptcy Rule 3001 (cX2}(A).

18. Whatls the basis ofthe Examples: Goods sold, money loaned, jease, services performad, personal Injury or wrongful death, or credit card.
claim? Attach redacted coples of any documents supporting the claim required by Bankruptey Rule 3004 (c).
Limi disclosing information that is entitted to privacy, such as heaith care Information.

TAXES

5. Is all or part of the claim No
secured? () Yes. Tho clalm ls secured by a lien on property.
Nature of proparty:
Real estate. Ifthe clalm Is secured by the debtor's principal residence, file a Morigage Froof of Claim
Attachment (Official Form 410-A) with this Proof of Claim,

QI Motor vehicle
C] other. Describe:

Basis for perfection:
Attach redacted copies of documents, if any, that show evidence of perfection of a security Interest (for
exemple, a mortgage, lien, certificate of titfe, financing statement, or other document that shows the flen has
been filed or recorded.}

Valua of property: $
Amount of the claim thatls sacured: §_0.00*

Amount of the claim that Is unsacured: § 41233 .45 (The sum of the secured and unsecured
amounts should mateh the amount in line 7.)

Amount necessary to curs any default as of the date of the patition: $0.00

Annual Interest Rate (when case was filed) 18 .90%

Fixed
E) Variable

10. Is this claim based on a No
feagse?
(J Yes, Amount nacessary te cure any default as ofthe date of the petiiian. = §.

11. 48 this claim subjact toa No
right of setaff?
Cl Yes. Identify the property:

Official Form 410 Proof of Clalm page 2
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12. Is all or part of the clalm
antitied to priority under
11 U.S.C. § 507(a)?

A claim may be partly
priority and partly
nonpriority. For example,
in some categories, the
law limits the amount
entitled to priority.

GI No

Yes. Check one: Amount entitled to priority
CQ) Domestic support obligations (including alimony and child support) under
11 U.S.C. § 507(a)(1)(A) or (a)(1 XB). .
QO) Up to $2,850* of deposits toward purchase, lease, or rental of property or services for
personal, family, or household use. 11 U.S.C. § 507(a)(7).
Q) Wages, salaries, or commissions (up to $12,850") eamed within 180 days before the
bankruptcy petition is filed or the debtor's business ends, whichever is earlier.
11 U.S.C, § 507(a)(4).
Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8). $_41133.45
Contributions to an employee benefit plan. 11 U.S.C. § 607(a)(5). 3
(2) Other. Specify subsection of 11 U.S.C. § 507(a)(_) that applies. §

* Amounts are subject to adjustment on 4/01/19 and every 3 years after that for cases begun on or after the date of adjustment.

Sign Below

The person completing
this proof of clalm must
sign and dato It

FRBP 8011(b).

If you file this clalm
electronically, FRBP
§005(a)(2) authorizes courts
to establish local rules
specifying what a signature
is.

A person who files a
fraudulent clalm could ba
fined up to $500,000,
Imprisoned for up to 5
years, or both.

18 U.S.C. §§ 152, 157, and
3571.

Check the appropriate box:

LJ | amthe creditor.

Gd | am the creditor's attomey or authorized agent.

CJ 1am the trustes, or the debtor, or thelr authorized agent, Bankruptcy Rule 3004.
C] | ama guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.

| understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.

| have examined the Information in this Proaf of Claim and have a reasonable bellef that the Information Is true
and correct.

I declare under penalty of perjury that the foregoing Is true and correct.

Executed on date
MM/ DD / YYYY

Signature e }

Print the name of the person who Is completing and signing thls claim:

Linda Mikulski

Nama

Firet name Middle neme Low come
Tite e Tax Collector
Company —

Identify the corporate servicer as the company if the authorized agent is 6 servicer.
Addrowa

Number Straat

City / Stato ZIP Coda
Contact phone Emall

Official Form 410

Proof of Claim page 3
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Parcel #
022941101P003

022941101P004
027613176P005
029208251 P004
029250102P001
039927109P600

104464145P000

Number of Parcels: 7

Friday, October 13, 2023 Page 1 of 1
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Auditor-Controller/Treasurer/Tax Collector Ensen Mason CPA, CFA

Auditor—Controller/ lreasurer/Tax Collector

John Johnson
Assistant Auditor—Controller/ Treasurer/ Tax Collector
Tori Roberts, CPA
Assistant Auditor-Controller/ freasarer/ lax Collector
The claim is subject to interest under California Revenue and
Taxation Code Section 4103, 11 U.S.C. Section 506(b) and 11 U.S.C.
9

Section 511, at 18% per annum, as well as costs, fees and. attorneys
fees

The claim will continue to increase and interest will continue to
accrue until it is paid.

1 268 West Hospitality Lane, First Floor, San Bernardino, CA 92415-0360

(C 268 West Hospitality Lane, Fourth Floor, San Bernardino, CA 92415-0018
(909) 387-8308 | Fax (909) 890-5797

(909) 387-8322 | Fax (909) 890-4045

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Bill Display for 20230808149 10/13/2023
Parcel Number 0399-271-09-Pa00

Parcel Nbr. 1039927 108P000 |[Defauttad: 0238-11-01 [Tax Fyne AU
ifBill Nor. 20230808149 fExt: 2023-07-10 _ |IEff _ [2023-07-01
iCom From: ‘(160000000000 |lGerr To: O000000008 |fEtig: A» ELIG EXTENDED
Tax Rate Total {l0.010840 Tax Rate Area [ocdd27019 —|iTax Rate Year |i2022
VALUATION TYPE E - ASSESSED |! Installment: |(01
LAND fi] $0.00} | Due Amt: $910.19
| $47,959.00 }f| Delg Amt: $1,047.21
i Due Date2023-08-31
_ RS/PRO - |_ 50,00 |if/Total Tax: $910.19
IMPROVEMENT PENALTY [if - $0.00 || Pay Status: NOTHING PAID
TOTAL VALUE $84,158.00
HOMEOWNER EXEMPTION $0.00 ||
VETERAN EXEMPTION $0.00
OTHER EXEMPTION __ $0.00
NET VALUE || $84,156.00
Service A ency fAmount Service Agency Amount}
MV COMM COLLEGE MEASURE Jul!
|GENERAL TAX LEVY $841.56 $17.33
760) 245 - 4271
APPLE VALLEY UNIFIED BOND
(760) 247 - 8001 $28.10]SCHOOL BONDS $0.00
OJAVE WTR BOND DEBT #2
SCHOOL STATE REPAYMENT $0.00 (760) 946 - 7000 $23.20]
MOJAVE WATER BOND DEBT #1
$0.00
(760) 946 - 7000
HOWNER TYPE NAME ADDRESS ZIP ASOFDATE
BILLED OWNER BED BATH & BEYOND OF CALIFORNIA LLC [660 LIBERTY AVE 00000-0000 [JAN 01, 2023
UNION NJ 07083
[DBA BED BATH BEYOND #1266 - JAN 01, 2023
ISITUS ADDRESS || 18815 BEAR VALLEY RD APP
Prev
$ 910.19 |0399-271-09-P000
$ 8,386.73 [0229-411-01-P004
$ 15,899.78 [1044-644-45-P000
$ 3,225.85 16292-501-02-P001
$ 210.93 10276-131-76-P005
$ 4,087.94 [0292-082-51-P004
S 8,412.03 [0229-411-01-P003
5 41,133.45 [Grand Total
10/13/2023

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Bill Display for 20230799987 10/13/2023
Parcel Number 0229-411-04-P003

(Parcel Nor: 022947 107P003 Defaulted: 2023-11-01 | Tax Type: AU -

[Bill Nor: 20230799087 _|lExt: 2023-07-10 _ Eff 2023-07-01

Cor From: —_ fodeov0a0000 — |[Corr To: |o0000000000 |[Etig. [A - ELIG EXTENDED
Tax Rate Total |[0.010466 |ffax Rate Area 000015016 _|[Tax Rate Year |[2022

——==V/ALUATION TYPE JE - ASSESSED |||Installment |[01

LAND ||| $0.00 ||| Due Amt: || $8,412.03

PERSONAL Rot $279,554.00||| DelgAmt || $9,209.23
r

IMPROVEMENT || __$524,195.00 [Due Date ]2023-08-31
PERS/PROP PENALTY $0.00 |llTotal Tax: $8,412.03

IMPROVEMENT PENALTY || $0.00 || |Pay Status: [NOTHING PAID

TOTAL VALUE || $803,749.00

HOMEOWNER EXEMPTION | $0.00
VETERAN Swern ___ $0.00
$0.00

OTHER EXEMPTION |
NET VALUE I $803,749.00

[Service Agency — __ jAmount [Service Agency ™ Armaunt
ISENERAL TAX LEVY $8,037.49 (009) 452-6161 BOND |s110.11
CHAFFEY HIGH BOND er ~

(009) 988 - 8541 §236.30|SCHOOL BONDS - | $0.09)
SCHOOL STATE REPAYMENT |[ _$0,00/CHINO BASIN WTR DEBT SERV), $0.00)
[oes SERVICE [ $0.00/DEBT SERVICE | $0.00
METRO WATER MID-VLY DEBT

$28.13

|800) 755 - 6864 dL

(OWNER TYPE NAME [ADDRESS [zie JASOFDATE

BILLED OWNER |BUY BUY BABY INC 50 LIBERTY AVE 90000-0000 AN 01, 2023
UNION NJ 07083

[CARE OF TAX DEPT _ - IRAN 01, 2023 |

DBA STORE #3096 EL JJAN 0+, 2023]

fSiTUS ADDRESS || 11530 4TH ST RAN “|

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Bill Display for 20230799988 10/43/2023
Parcel Number 0229-41 1-01-P004

Parcel Nbr: 1022941101P004 Defaulted: 2023-11-01 _ [Tax Type: AU
Bill Nbr: 20230799988 —_||Ext: 2023-07-10 _ |IEf: 2023-07-01
Cortrom: —_[o0000ca0000 {Corr To: 0000000000 ||Elig: A - ELIG EXTENDED
Tax Raie Total i0.010466 Tax Rate Area |l(000015016 _|iTax Rate Year |2022
VALUATION TYPE IIE - ASSESSED I[flinstaliment: [11
LAND $0.00 ||| Due Amt: $8,386.73
PERSONAL PROPERTY ||| $471,799.00 ||| Delq Amt: $9,271.40
IMPROVEMENT =| $329,533.00 ||| Due Date:/2023-08-31
PERS/PROP PENALTY | $0.00 |}{Total Tax: $8,386.73
IMPROVEMENT PENALTY $0.00 || [Pay Status: [NOTHING PAID
TOTAL VALUE ||| $801,332.00
HOMEOWNER EXEMPTION $0.00
VETERAN EXEMPTION $0.00
OTHER EXEMPTION $0.00
NET VALUE ||| $801,332.00

(Service Agency Amount _[jService Agency Arigunt
CHAFFEY COLLEGE BOND

[GENERAL TAX LEVY $8,013.321/ G09) 682 - 6161 $108.78
CHAFFEY HIGH BOND

2 968 - 8511 $236,59)SCHOOL BONDS $0.00
SCHOOL STATE REPAYMENT $0.00(CHINO BASIN WTR DEBT SERV|__ $0.00}
|DEBT SERVICE $0,00/DEBT SERVICE $0.00]
METRO WATER MID-VLY DEBT]

$28.04
(800) 755 - 6884
OWNER TYPE [NAME ADDRESS ZIP ASOF DATE

BILLED OWNER IIBED BATH & BEYOND OF CALIFORNIA LLC 1650 LIBERTY AVE - TAX DEPT|00000-0000 [JAN 01, 2023
UNION NJ 07083

SITUS ADDRESS 11830 4TH ST RAN
Prev

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Bill Display for 20230816066 10/43/2023
Parcel Number 1044-641-45-P000
Parcel Nbr: _||104464145P000 Defaulted: 2023-11-01 [Tax Type: AU
Bilt Nbr: 20230816066 —_ Ext: 2023-07-10 Eff: 2023-07-04
Corr From: 00000000000 —_|jCorr To: 00000000000 |[Elig: A - ELIG EXTENDED
Tax Rate Total 0.010635 Tax Rate Area (000008007 __||Tax Rate Year [2022
VALUATION SE ASSESSED J flinstaliment: [01
LAND|[ ___ $0.00 [| Due Amt: $15,899.78
PERSONAL PROPERTY |i| $469,981.00 ||| Delg Amt, G17 835.75
IMPROVEMENT ||| $1,025,083.00 |}! Due Date:/2023-08-34
 PERSIPROP PENALTY | $0.00 || fTota Tax: $15,899.78
iMPROVEMENT PENALTY ff $0.00 || [Pay Status: JNOTHING PAID
TOTAL VALUE ||[ $1,495.044.00 |;
HOMEOWNER EXEMPTION || $0.00 |
VETERAN EXEMPTION | $0.00
OTHER EXEMPTION Ill $0.00
NET VALUE Ill $1,495,044.60
Service Agency Amount [Service Agency Amousit
GENERAL TAX LEVY $14,060.44] 900) 652-6161 BOND —Isza4.82
{UPLAND UNIFIED SCHOCL BOND
469? 20ISCHOOL BONDS $6.00
(909) 985 - 1864
SCHOOL STATE REPAYMENT $0.00|CHINO BASIN WTR DEBT SERV||__ $0.00]
METRO WATER ORIG DEBT SVC $82.32
(800) 755 - 6864
[OWNER TYPE _|INAME ADDRESS ZIP ASOFDATE
BILLED OWNER |IBED BATH & BEYOND OF CALIFORNIA LLC |/700 LIBERTY AVE 00000-0000 JAN 01, 2023
UNION NJ 07083
DBA BED BATH & BEYOND #1025 . JAN 01, 2023
SITUS ADDRESS | 1865 N CAMPUS AVE UPL
Prev
10/13/2023

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Bill Display for 20230804888 10/13/2023
Parcel Number 0292-501-02-P001

[Parcel Nbr:__|[029250102P001 [[Defaulted: 2023-11-01 [Tax Type: AU

[Bill Nbr: 20230804888 __|[Ext: 2023-07-10 _ |Eff: ~~ [9023-07-01

Corr From: ooeoo0co00d00 Carr To: locop0000000 ||Flig: A-ELIG EXTENDED
Tax Rate Total |0.012029 Tax Rate Ares 000104104 fiTax Rate Year }j2022 |

VALUATION TYPE ||E - ASSESSED |llinstaliment: [04

LAND | $0.00 |] Due Amt: $3,225.85
PERSONAL PROPERTY || $119,023.00 |}|_Detg Amt: $3,594.43

IMPROVEMENT $149,154.00 Due Date:|2023-08-31

PERS/PROP PENALTY | [ $0.00 | Total Tax: $3,225.85

IMPROVEMENT PENALTY |I[ $0.00 |l\[Pay Status: [NOTHING PAID

TOTAL VALUE || $268,174.00

[HOMEOWNER EXEMPTION lI] $6.00
VETERAN EXEMPTION If $0.00

OTHER EXEMPTION |f[ $0.00

NET VALUE Ill $268,174.00

Service Agency " Amount Service Agency " Amount
SAN BDNO COMM COLLEGE BOND
GENERAL TAX LEVY $2,581.74 $120.67
(909) 388 - 6809

REDLANDS UNIFIED BOND :
SCHOOL BONDS $0,000) 307 - 5300 $74.82

SB VALLEY MUNI WTR DBT SVG .
SCHOOL STATE REPAYMENT $0.00|-959 387 - 9200 $348.62

OWNER TYPE _ |INAME ADDRESS |ZiP |ASOFDATE
BILLED OWNER [Pe BATH & BEYOND OF CALIFORNIA LLC [700 LIBERTY AVE 00000-0000 JUAN 01, 2023
UNION NJ 07083
DBA BED BATH & BEYOND #776 - JAN Of, 2023
SITUS ADDRESS 27450 LUGONIA AVE RED [
Prev

http://trol-prod2/BillDisplay.asp 10/13/2023
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Bill Display for 20230803559 10/13/2023
Parcel Number 0276-131-76-P005

ParcelNbr. _|(027613176P005|[Defaulted: —_[2023-11-01__|[Tax Type: __|JAU
Bill Nor: 20230803559 __[|Ext: 2023-07-10 _ [lef 2023-07-01
Corr From: 00000000000 __||Cor To: 10000000000 |IElig: A- ELIG EXTENDED
Tax Rate Total|[0.012406 Tax Rate Area [000002059 _||Tax Rate Year ||2022
VALUATION TYPE ||[E - ASSESSED ||i[Instaliment: |[01
LAND ||| $0.00 ||| Due Amt || $210.93
PERSONAL PROPERTY ||| __$17,003,00 || Delg Amt: $278.03
IMPROVEMENT |i $0.00 ||f Due Date:| 2023-08-31
PERS/PROP PENALTY |If $0.00 ||[[Total Tax: $210.93
IMPROVEMENT PENALTY || $0.00 | |[Pay Status: [NOTHING PAID
TOTAL VALUE ||| $17,003.00]
[HOMEOWNER EXEMPTION || $0.00]

VETERAN EXEMPTION | $0.00
OTHER EXEMPTION i $0.00

NET VALUE || $17,003.00

Service Agency Amount [Service Agency Amounil
COLTON CITY-DEBT SVC
GENERAL TAX LEVY 3170,03 (909) 370 - 5036 $0.00

SAN BDNO COMM COLLEGE BOND
$7.65 |/SCHOOL BONDS $0.00

(909) 388 - 6909
(908) 580 OO BOND $11. 1SESCHOOL STATE REPAYMENT $0.00)

SB VALLEY MUNI WTR DBT SVC] go 49
909) 387 - 9200

[OWNER TYPE__|NAME ADDRESS iZIP |ASOFDATE
IBILLED OWNER [BED BATH & BEYOND OF CALLC |[650 LIBERTY AVE - TAX DEPT/|00000-0000 |JAN 01, 2023

UNION, NJ 07083
DBA [STORE #2681 - JAN 01, 2023
SITUS ADDRESS || 1601 E COOLEY DR COL

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Bill Display for 20230804527 10/13/2023
Parcel Number 0292-082-51-P004

[Parcel Nbr [029208251P004 |[Defaulted: 2023-11-01 _|[TaxType:__JAU
Bill Nbr: 20230804527 Ext: 2023-07-10 _|lEff: 2023-07-01
CorrFrom: _ 00000000000 __ {Corr To: (00000000000 |Elig: A -ELIG EXTENDED
Fax Rate Total |[0.012029 Tax Rate Area 1000104104 _|{Tax Rate Year [2022
VALUATION TYPE ||[E - ASSESSED |||[Installment: [01
LAND $0.00 II} Due Amt: $4,087.94
PERSONAL PROPERTY ||| $278,503.00 ]]|_ Delq Amt: $4,542.73
IMPROVEMENT $61,339.00 ||||_ Due Date:||2023-08-31
PERS/PROP PENALTY $0.00 |||[Total Tax: $4,087.94
[ IMPROVEMENT PENALTY |} $0.00 || [Pay Status: [NOTHING PAID
) TOTAL VALUE ||| $339,842.00
HOMEOWNER EXEMPTION | $0.00
VETERAN EXEMPTION $0.00
OTHER EXEMPTION $0.00
NET VALUE |] $339,842.00
[Service Agency Amount [Service Agency Amount
SAN BDNO COMM COLLEGE BOND
GENERAL TAX LEVY $3,398.42 $152.92

(909) 388 - 6909
REDLANDS UNIFIED BOND

SCHOOL BONDS 30.001 499) 307 - 5300 $94.81
SB VALLEY MUNI WTR DBT SVC
SCHOOL STATE REPAYMENT| —$0.00l'o99) 387 - 9200 $441.79
OWNER TYPE __|INAME [ADDRESS ZIP [ASOFDATE
BILLED OWNER {BUY BUY BABY INC ][650 LIBERTY AVE (00000-0000 [JAN 01, 2023
UNIONNJ07083.
CARE OF TAX DEPT - JAN 01, 2023
IDBA STORE #3097 - JAN 01, 2023
[SITUS ADDRESS || 27651 SAN BERNARDINO AVE RED
Prev

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Case 25

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PROOF OF SERVICE

I am employed in the County of San Bernardino, State of California. I am a citizen of the
United States, employed in the County of San Bernardino, State of California, over the age of 18
years and not a party to nor interested in the within action.

On October 16, 2023, I served the following documents; CREDITOR SAN
BERNARDINO COUNTY TAX COLLECTOR’S RESPONSE TO DEBTOR’S SECOND
OMNIBUS OBJECTION TO CERTAIN TAX CLAIMS AND GPPOSITION TO
MOTION TO DETERMINE TAX LIABILITY AND STAY PROCEEDINGS

Martin Luther King Jr. Federal Building Cole Schotz P.C.

Atten: Clerk of the Bankruptcy Court Attn: Warren A. Usatine, Esq
50 Walnut Street Felice R. Yudkin, Esq.
Newark, NJ 07102 25 Main Street

Hackensak, NJ 07601

The documents were served by the following means:

By overnight delivery- Via Federal Express. I enclosed the documents in an envelope or

package provided by an overnight delivery carrier and addressed to the persons at the addresses
above. I placed the envelope or package for collection and overnight delivery at an office or regularly
utilized drop box of the overnight delivery carrier.

I am a resident or employed in the county where the mailing occurred. The envelope or
package was placed in the mail at San Bernardino, California.

I declare under penalty of perjury under the laws of the State of California, that the
foregoing is true and correct.

DATE: October 16, 2023 dU Morr
vonne M. Palermo i

